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 AO 472 (Rev. 11/16) Oriier of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT
                                                                                                     ~,ERK,v.s.oi
                                                                      for the                                    TRICTCOURT

                                                           Central District of California
                                                                                                          SEP ~ ~ c~ .- ,.~

                    United Stcltes of America                            ~                        BY       DISTRICT OF CALIFORNIA
                                   V.                                                                                           PUTY
                                                                                             '
                                                                                Case No. 5~ a~ CR        ~ '
     ~Vic~-oY C`lar,ve~ R~rn~~e                                          ~
                               Defendant .

                                        ORDER OF DETENTION PENDING TRIAL
                                                         Part I -Eligibility for Detentio~i

      Upon the

               ~ Motion ofthe Government attorney pursuant to 18 U.S.C. § 3142(fl(1), or
               $'Motion ofthe Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions oflaw,as required by 18 U.S.C. § 3142(1), in addition to any other findings made at the hearing.

                             Part II -Findings ofFact and Law as to Presumptions under § 3142(e)

  d A. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(2)(previous vrolaror): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
        Q (l),the defendant is charged with one ofthe following crimes described in 18 U.S.C. § 3142(fl(1):
             Q(a)a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             O(b)an offense for which the maximum sentence is life imprisonment or death; or
             O(c)an offense for which a maximum term of imprisonment of 10 yeazs or more is prescribed
                                                                                                             in the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
              (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508); or
             Q(d)any felony if such person has been convicted oftwo or more offenses described in
                                                                                                      subparagraphs
              (a)through(c)ofthis paragraph, or two or more State or local offenses that would have been offenses
               described in subparagraphs(a)through(c)ofthis paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination ofsuch offenses; or
             ~(e)any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii)the possession ofa firearm or destructive device (as defined in 18 U.S.C. § 921);
             (iii) any other dangerous weapon; or(iv) a failure to register under 18 U.S.C. § 2250; and
       Q (2)the defendant has previously been convicted ofa Federal offense that is described in 18 U.S.C.
          § 31420(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
          to Federal jurisdiction had existed; and
       ~(3)the offense described in paragraph(2)above for which the defendant has been convicted was
          committed while the defendant was on release pending fial for a Federal, State, or local offense; and
       O (4)a period of not more than five years has elapsed since the date of conviction, or the release ofthe
          defendant from imprisonment, for the offense described in paragraph(2)above, whichever is later.


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    ~ B. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(3)(narcor;cs,firearm, other offenses): There is a
      rebuttable presumption that no condition or combination ofconditions will reasonably assure the appearance ofthe
      defendant as required and the safety ofthe community because there is probable cause to believe that the defendant
      committed one or more ofthe following offenses:
          ~(1)an offense for which a maximum term ofimprisonment of 10 years or more is prescribed in the
             Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
             U.S.C. §§ 951-971), or Chapter 705 ofTitle 46, U.S.C.(46 U.S.C. §§ 70501-70508);
          O (2)an offense under 18 U.S.C. §§ 924(c),956(a), or 2332b;
          Q (3)an offense listed in 18 U.S.C. § 2332b(g)(5)(B)for which a maacimum term ofimprisonment of 10 years
             or more is prescribed;
          O (4)an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1597)for which a maximum term of
             imprisonment of20 years or more is prescribed; or
          ~(5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241,2242,2244(a)(1),2245,
             2251,2251A,2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260,2421, 2422,2423, or 2425.

   ~ C. Conclusions Regarding Applicability of Any Presumption Established Above

            ~ The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis.(Parr tll need nor be completed.)

                OR

            ~ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
              presumption and the other factors discussed below, detention is warranted.

                                   Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g)and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

 ~By dear and convincing evidence that no condition or combination of conditions ofrelease will reasonably assure
  the safety of any other person and the community.

   ~ By a preponderance ofevidence that no condition or combination of conditions ofrelease will reasonably assure
     the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

        Weight ofevidence against the defendant is strong Tu~~ ~o +OZ~
     ~ Subject to lengthy period ofincarceration if convicted                       r
        Prior criminal history Moony fG~oniC~ ~~►v`~~h,9 P~°Y '1z~o1"` i~ ~a~b.
     ~ Participation in criminal activity while on probation, parole, or supervisio
     ~History of violence or use of weapons S~res.~' ~troJ { 5~""~ 'Rb~               cA ~nvic~'i o1~s
     j~.History of alcohol or substance abuse GJ~f ~Cn~
     ~ Lack of stable employment
     ~ Lack of stable residence
     ~ Lack of financially responsible sureties


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      Q Lack of significant community or family ties to this district
      ~ Significant family or other ties outside the United States
      ~ Lack of legal status in the United States
      O Subject to removal or deportation after serving any period ofincarceration
      ~ Prior failure to appeaz in court as ordered
      ~ Prior attempts)to evade law enforcement ZO($ ~~{c~ioh ~ ZO1$ {~a~Sc ~~
        Use ofaliases) or false documents
      O Background information unknown or unverified
        Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER EXPLANATION:

                 ~~ng rna.,r►b~rsh;P




                                               Part IV -Directions Reg$rding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General's designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendan        United States     shat for the purpose of an appearance in
connection with a court proceeding.                               ~               ~          n          //


                                                                          United States Magistrate Judge

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